                                                                            Motion GRANTED.
                                                                            Extension to 12/8/2022.


                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE


JOSHUA GARTON,                           §
                                         §
        Plaintiff,                       §
                                         §
v.                                       §         Case No. 3:21-cv-00338
                                         §
W. RAY CROUCH, DAVID RAUSCH,             §         JURY DEMANDED
BRADLEY NEALON, RUSSELL                  §
WINKLER, JOSHUA MELTON,                  §
JOSEPH CRAIG, DONALD ARNOLD,             §
ANDREW VALLEE, and                       §
CITY OF DICKSON, TENNESSEE,              §
                                         §
        Defendants.                      §


       PLAINTIFF’S UNOPPOSED MOTION TO EXTEND AMENDMENT
                 DEADLINE UNTIL DECEMBER 8, 2022


        Comes now the Plaintiff, through counsel, and respectfully moves without

opposition to extend the deadline to file a motion to amend his complaint from September

8, 2022, see Doc. 72 at 4 (“The parties shall file all Motions to Amend on or before

September 8, 2022.”), until December 8, 2022.

        As grounds, the Plaintiff represents that the exchange of a portion of initial

disclosures—which the Plaintiff anticipates will contain documents necessary for the

Plaintiff to amend his Complaint—is not yet complete, because the Parties (by agreement)

are awaiting this Court’s ruling on Defendants Craig’s and Vallee’s April 19, 2022 Motion

for Protective Order (Doc. 73). To ensure adequate time for the Court to rule and for the

Plaintiff to receive documents and prepare an amendment thereafter, the Plaintiff

respectfully moves this Court to extend the Parties’ amendment deadline until December

                                             -1-

     Case 3:21-cv-00338 Document 77 Filed 07/21/22 Page 1 of 1 PageID #: 2013
